Case 2:20-cr-00029-Z-BR Document 31 Filed 10/01/20 Pagetof1 PagelD 80

 

U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

 

 

 

 

 

 

 

FI
IN THE UNITED STATES DISTRICT COURT LED
FOR THE NORTHERN DISTRICT OF TEXAS a
AMARILLO DIVISION | CT = | 2000
1
UNITED STATES OF AMERICA § CLERK, U.S. DISTRICT CO
§ | BD.
Plaintiff, § Deputy
§
v. § 2:20-CR-29-Z-BR-(1)
§
TONY HERNANDEZ §
§
Defendant. §

ORDER ADOPTING REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

On September 15, 2020, the United States Magistrate Judge issued a Report and
Recommendation Concerning Plea of Guilty (‘Report and Recommendation”) in the above
referenced cause. Defendant Tony Hernandez filed no objections to the Report and
Recommendation within the fourteen-day period set forth in 28 U.S.C. § 636(b)(1). The Court
independently examined all relevant matters of record in the above referenced cause—including
the elements of the offense, Factual Resume, Plea Agreement, and Plea Agreement Supplement—
and thereby determined that the Report and Recommendation is correct. Therefore, the Report and
Recommendation is hereby ADOPTED by the United States District Court. Accordingly, the Court
hereby FINDS that the guilty plea of Defendant Tony Hernandez was knowingly and voluntarily
entered; ACCEPTS the guilty plea of Defendant Tony Hernandez; and ADJUDGES Defendant
Tony Hernandez guilty of Count One in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).

Sentence will be imposed in accordance with the Court’s sentencing scheduling order.

SO ORDERED, October [ , 2020.

 

MAYIHEW J. KACSMARYK
TED STATES DISTRICT JUDGE

 
